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                   UNITED STATES BANKRUPTCY COURT FOR THE
                            DISTRICT OF MARYLAND


IN RE:                                               *

KEITH AND MELISIA STEVENS,                           *       CHAPTER 13

       Debtor.                                       *       CASE NO. 07-19162

* * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

   JOINT EXHIBITS LIST FOR HEARING ON DEBTORS’ OBJECTION TO FIRST
              SAVINGS MORTGAGE CORPORATION’S CLAIM


       NOW COME the Parties, Keith and Melisia Stevens and First Savings Mortgage

Corporation, and file the attached Joint Exhibits to be admitted as additional evidence at the

continued hearing on Debtors’ Objection to First Savings Mortgage Corporation’s Claim.

       1.      HUD-1 Settlement Statement for the property located at 148 Old Solomons Island

Road, Lothian, Maryland 20711. [Exhibit 3]

       2.      Note for property located at 148 Old Solomons Island Road, Lothian, Maryland

20711. [Exhibit 4]

       3.      HUD-1 Settlement Statement for first mortgage for the property located at 10814

Catron Road, Perry Hall, Maryland 21128. [Exhibit 5]

       4.      Note for first mortgage for the property located at 10814 Catron Road, Perry Hall,

Maryland 21128. [Exhibit 6]

       5.      Deed of Trust for first mortgage for property located at 10814 Catron Road, Perry

Hall, Maryland 21128. [Exhibit 7]
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         6.        HUD-1 Settlement Statement for second mortgage for the property located at

10814 Catron Road, Perry Hall, Maryland 21128. [Exhibit 8]

         7.        Note for second mortgage for property located at 10814 Catron Road, Perry Hall,

Maryland 21128. [Exhibit 9]

         8.        Deed of Trust for second mortgage for the property located at 10814 Catron Road,

Perry Hall, Maryland 21128. [Exhibit 10]


                                                       ________/s/_________________________
                                                       Craig D. Roswell, Esquire (#09529)
                                                       Justin S. Dunbar, Esquire (#27699)
                                                       Niles, Barton & Wilmer, LLP
                                                       111 S. Calvert Street, Suite 1400
                                                       Baltimore, MD 21202
                                                       Direct: (410) 783-6341
                                                       Fax: (410) 783-6363
                                                       Electronic Mail: cdroswell@niles-law.com
                                                                         jsdunbar@niles-law.com
                                                       Counsel for First Savings Mortgage Corp.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of June, 2008, a copy of the foregoing Joint Exhibits
List was electronically mailed via CM/ECF to:

Joseph R. Laumann, Esquire
Law Office of Joseph R. Laumann
1160 Spa Road, Suite 3C
Annapolis, Maryland 21403
Attorney for Debtors

Ellen W. Cosby
P.O. Box 20016
Baltimore, Maryland 21284
Trustee


                                                     _______/s/________________________
                                                     Justin S. Dunbar




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